  Case: 1:20-cv-02581 Document #: 113 Filed: 07/06/22 Page 1 of 14 PageID #:1499




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

LAZAR MACOVSKI, Individually and On
Behalf of All Others Similarly Situated,

                              Plaintiff,

               v.                                Case No. 1:20-cv-02581

GROUPON, INC., RICH WILLIAMS, and                Honorable Matthew F. Kennelly
MELISSA THOMAS,



                              Defendants


                        ORDER PRELIMINARILY APPROVING
                     SETTLEMENT AND PROVIDING FOR NOTICE

       WHEREAS, a class action is pending in this Court entitled Macovski v. Groupon, Inc. et

al., No. 1:20-cv-02581 (the “Action”);

       WHEREAS, (a) Lead Plaintiff Fadi E. Rahal, on behalf of himself and the Settlement Class

(defined below), and (b) defendant Groupon, Inc. (“Groupon”) and defendants Rich Williams and

Melissa Thomas (collectively, “Individual Defendants,” and, together with Groupon,

“Defendants;” and together with Lead Plaintiff, the “Parties”) have determined to settle all claims

asserted against Defendants in this Action with prejudice on the terms and conditions set forth in

the Stipulation and Agreement of Settlement dated June 24, 2022 (the “Stipulation”) subject to

approval of this Court (the “Settlement”);

       WHEREAS, Lead Plaintiff has made an application, pursuant to Rule 23 of the Federal

Rules of Civil Procedure, for an order preliminarily approving the Settlement in accordance with
  Case: 1:20-cv-02581 Document #: 113 Filed: 07/06/22 Page 2 of 14 PageID #:1500




the Stipulation, certifying the Settlement Class for purposes of the Settlement only, and allowing

notice to Settlement Class Members as more fully described herein;

       WHEREAS, the Court has read and considered: (a) Lead Plaintiff’s motion for preliminary

approval of the Settlement, and the papers filed and arguments made in connection therewith; and

(b) the Stipulation and the exhibits attached thereto; and

       WHEREAS, unless otherwise defined herein, all capitalized words contained herein shall

have the same meanings as they have in the Stipulation;

       NOW THEREFORE, IT IS HEREBY ORDERED:

       1.      Class Certification for Settlement Purposes – Pursuant to Rule 23(a) and (b)(3)

of the Federal Rules of Civil Procedure, the Court certifies, solely for purposes of effectuating the

proposed Settlement, a Settlement Class consisting of all persons and entities who or that, between

July 30, 2019, and February 18, 2020, inclusive (the “Settlement Class Period”), purchased or

otherwise acquired Groupon common stock and were damaged thereby. Excluded from the

Settlement Class are: (i) Defendants; (ii) any person who served as a control person, executive

officer and/or director of Groupon during the Settlement Class Period, and members of his or her

Immediate Family; (iii) present and former parents, subsidiaries, assigns, successors, affiliates, and

predecessors of Groupon; (iv) any entity in which Defendants have or had a controlling interest

during the Settlement Class Period; (v) any trust of which any Individual Defendant is the settlor

or that is for the benefit of any Individual Defendant and/or member(s) of his or her Immediate

Family; and (vi) the legal representatives, heirs, successors, and assigns of any person or entity

excluded under provisions (i) through (v) hereof. Also excluded from the Settlement Class are

any persons and entities who or that validly exclude themselves by submitting a request for

exclusion that is accepted by the Court.




                                                  2
  Case: 1:20-cv-02581 Document #: 113 Filed: 07/06/22 Page 3 of 14 PageID #:1501




       2.      Class Findings – Solely for purposes of the proposed Settlement of this Action, the

Court finds that each element required for certification of the Settlement Class pursuant to Rule

23 of the Federal Rules of Civil Procedure has been met: (a) the members of the Settlement Class

are so numerous that their joinder in the Action would be impracticable; (b) there are questions of

law and fact common to the Settlement Class that predominate over any individual questions; (c)

the claims of Lead Plaintiff in the Action are typical of the claims of the Settlement Class; (d) Lead

Plaintiff and Lead Counsel have and will fairly and adequately represent and protect the interests

of the Settlement Class; and (e) a class action is superior to other available methods for the fair

and efficient adjudication of the Action.

       3.      The Court hereby finds and concludes that pursuant to Rule 23 of the Federal Rules

of Civil Procedure, and for the purposes of the Settlement only, Lead Plaintiff Fadi E. Rahal is an

adequate class representative and certifies him as Class Representative for the Settlement Class.

The Court also appoints Lead Counsel, Kirby McInerney LLP and Glancy Prongay & Murray

LLP, as Class Counsel for the Settlement Class, pursuant to Rule 23(g) of the Federal Rules of

Civil Procedure.

       4.      Preliminary Approval of the Settlement – The Court hereby preliminarily

approves the Settlement, as embodied in the Stipulation, as being fair, reasonable, and adequate to

the Settlement Class, subject to further consideration at the Settlement Hearing to be conducted as

described below.

       5.      Settlement Hearing – The Court will hold a settlement hearing (the “Settlement

Hearing”) on October 13, 2022 at 9:00 a.m. via teleconference, call-in number: 888-684-8852,

access code: 746-1053, for the following purposes: (a) to determine whether the proposed

Settlement on the terms and conditions provided for in the Stipulation is fair, reasonable, and




                                                  3
  Case: 1:20-cv-02581 Document #: 113 Filed: 07/06/22 Page 4 of 14 PageID #:1502




adequate to the Settlement Class, and should be approved by the Court; (b) to determine whether

a Judgment substantially in the form attached as Exhibit B to the Stipulation should be entered

dismissing the Action with prejudice against Defendants; (c) to determine whether the proposed

Plan of Allocation for the proceeds of the Settlement is fair and reasonable and should be approved;

(d) to determine whether the motion by Lead Counsel for an award of attorneys’ fees and

reimbursement of Litigation Expenses should be approved; and (e) to consider any other matters

that may properly be brought before the Court in connection with the Settlement. Notice of the

Settlement and the Settlement Hearing shall be given to Settlement Class Members as set forth in

paragraph 7 of this Order.

       6.      The Court may adjourn the Settlement Hearing without further notice to the

Settlement Class, and may approve the proposed Settlement with such modifications as the Parties

may agree to, if appropriate, without further notice to the Settlement Class. As set forth in the

Notice, the Court reserves the right to hold the Settlement Hearing telephonically or via

videoconference.

       7.      Retention of Claims Administrator and Manner of Giving Notice – Lead

Counsel is hereby authorized to retain Epiq Class Action & Claims Solutions, Inc. (the “Claims

Administrator”) to supervise and administer the notice procedure in connection with the proposed

Settlement as well as the processing of Claims as more fully set forth below. Notice of the

Settlement and the Settlement Hearing shall be given by Lead Counsel as follows:

               (a)     within ten (10) business days of the date of entry of this Order, Groupon

shall provide or cause to be provided to the Claims Administrator in electronic format (at no cost

to the Settlement Fund, Lead Counsel, or the Claims Administrator) its list(s) of shareholders of




                                                 4
  Case: 1:20-cv-02581 Document #: 113 Filed: 07/06/22 Page 5 of 14 PageID #:1503




record (consisting of names and addresses) for the Groupon common stock during the Settlement

Class Period;

                (b)    not later than twenty (20) business days after the date of entry of this Order

(the “Notice Date”), the Claims Administrator shall cause a copy of the Notice and the Claim

Form, substantially in the forms attached hereto as Exhibits 1 and 2, respectively (the “Notice

Packet”), to be mailed by first-class mail to potential Settlement Class Members at the addresses

set forth in the records provided by Groupon or in the records that Groupon causes to be provided,

or who otherwise may be identified through further reasonable effort;

                (c)    contemporaneously with the mailing of the Notice Packet, the Claims

Administrator shall cause copies of the Notice and the Claim Form to be posted on a website to be

developed for the Settlement, from which copies of the Notice and Claim Form can be

downloaded;

                (d)    not later than ten (10) business days after the Notice Date, the Claims

Administrator shall cause the Summary Notice, substantially in the form attached hereto as Exhibit

3, to be published once in Investor’s Business Daily and to be transmitted once over the PR

Newswire; and

                (e)    not later than seven (7) calendar days prior to the Settlement Hearing, Lead

Counsel shall serve on Defendants’ Counsel and file with the Court proof, by affidavit or

declaration, of such mailing and publication.

       8.       Approval of Form and Content of Notice – The Court (a) approves, as to form

and content, the Notice, the Claim Form, and the Summary Notice, attached hereto as Exhibits 1,

2, and 3, respectively, and (b) finds that the mailing and distribution of the Notice and Claim Form

and the publication of the Summary Notice in the manner and form set forth in paragraph 7 of this




                                                 5
  Case: 1:20-cv-02581 Document #: 113 Filed: 07/06/22 Page 6 of 14 PageID #:1504




Order (i) is the best notice practicable under the circumstances; (ii) constitutes notice that is

reasonably calculated, under the circumstances, to apprise Settlement Class Members of the

pendency of the Action, of the effect of the proposed Settlement (including the Releases to be

provided thereunder), of Lead Counsel’s motion for an award of attorneys’ fees and reimbursement

of Litigation Expenses, of their right to object to the Settlement, the Plan of Allocation, and/or

Lead Counsel’s motion for attorneys’ fees and reimbursement of Litigation Expenses, of their right

to exclude themselves from the Settlement Class, and of their right to appear at the Settlement

Hearing; (iii) constitutes due, adequate, and sufficient notice to all persons and entities entitled to

receive notice of the proposed Settlement; and (iv) satisfies the requirements of Rule 23 of the

Federal Rules of Civil Procedure, the United States Constitution (including the Due Process

Clause), the Private Securities Litigation Reform Act of 1995, 15 U.S.C. § 78u-4, as amended, and

all other applicable law and rules. The date and time of the Settlement Hearing shall be included

in the Notice and Summary Notice before they are mailed and published, respectively.

       9.      Nominee Procedures – Brokers and other nominees who purchased or otherwise

acquired Groupon common stock during the Settlement Class Period for the benefit of another

person or entity shall (a) within seven (7) calendar days of receipt of the Notice, request from the

Claims Administrator sufficient copies of the Notice Packet to forward to all such beneficial

owners and within seven (7) calendar days of receipt of those Notice Packets forward them to all

such beneficial owners; or (b) within seven (7) calendar days of receipt of the Notice, send a list

of the names and addresses of all such beneficial owners to the Claims Administrator in which

event the Claims Administrator shall promptly mail the Notice Packet to such beneficial owners.

Upon full compliance with these directions, such nominees may seek reimbursement of their

reasonable expenses actually incurred, up to a maximum of $0.50 per Notice Packet mailed; $0.05




                                                  6
  Case: 1:20-cv-02581 Document #: 113 Filed: 07/06/22 Page 7 of 14 PageID #:1505




per Notice Packet transmitted by email; or $0.10 per name, mailing address, and email address (to

the extent available) provided to the Claims Administrator, by providing the Claims Administrator

with proper documentation supporting the expenses for which reimbursement is sought. Such

properly documented expenses incurred by nominees in compliance with the terms of this Order

shall be paid from the Settlement Fund, with any disputes as to the reasonableness or

documentation of expenses incurred subject to review by the Court.

       10.     Participation in the Settlement – Settlement Class Members who wish to

participate in the Settlement and to be eligible to receive a distribution from the Net Settlement

Fund must complete and submit a Claim Form in accordance with the instructions contained

therein. Unless the Court orders otherwise, all Claim Forms must be postmarked no later than one

hundred twenty (120) calendar days after the Notice Date. Notwithstanding the foregoing, Lead

Counsel may, at its discretion, accept for processing late Claims provided such acceptance does

not delay the distribution of the Net Settlement Fund to the Settlement Class. By submitting a

Claim, a person or entity shall be deemed to have submitted to the jurisdiction of the Court with

respect to his, her, or its Claim and the subject matter of the Settlement.

       11.     Each Claim Form submitted must satisfy the following conditions: (a) it must be

properly completed, signed and submitted in a timely manner in accordance with the provisions of

the preceding paragraph; (b) it must be accompanied by adequate supporting documentation for

the transactions and holdings reported therein, in the form of broker confirmation slips, broker

account statements, an authorized statement from the broker containing the transactional and

holding information found in a broker confirmation slip or account statement, or such other

documentation as is deemed adequate by Lead Counsel or the Claims Administrator; (c) if the

person executing the Claim Form is acting in a representative capacity, a certification of his, her,




                                                  7
  Case: 1:20-cv-02581 Document #: 113 Filed: 07/06/22 Page 8 of 14 PageID #:1506




or its current authority to act on behalf of the Settlement Class Member must be included in the

Claim Form to the satisfaction of Lead Counsel or the Claims Administrator; and (d) the Claim

Form must be complete and contain no material deletions or modifications of any of the printed

matter contained therein and must be signed under penalty of perjury.

       12.     Any Settlement Class Member who does not timely and validly submit a Claim

Form or whose Claim is not otherwise approved by the Court: (a) shall be deemed to have waived

his, her, or its right to share in the Net Settlement Fund; (b) shall be forever barred from

participating in any distributions therefrom; (c) shall be bound by the provisions of the Stipulation

and the Settlement and all proceedings, determinations, orders, and judgments in the Action

relating thereto, including, without limitation, the Judgment or Alternate Judgment, if applicable,

and the Releases provided for therein, whether favorable or unfavorable to the Settlement Class;

and (d) will be barred from commencing, maintaining, or prosecuting any of the Released

Plaintiff’s Claims against each and all of the Defendants’ Releasees, as more fully described in the

Stipulation and Notice. Notwithstanding the foregoing, late Claim Forms may be accepted for

processing as set forth in paragraph 10 above.

       13.     Exclusion From the Settlement Class – Any member of the Settlement Class who

wishes to exclude himself, herself, or itself from the Settlement Class must request exclusion in

writing within the time and in the manner set forth in the Notice, which shall provide that: (a) any

such request for exclusion from the Settlement Class must be mailed or delivered such that it is

received no later than twenty-one (21) calendar days prior to the Settlement Hearing, to: Macovski

v. Groupon, Inc., EXCLUSIONS, c/o Epiq, P.O. Box 2648, Portland, OR 97208-2648, and

(b) each request for exclusion must (i) state the name, address, and telephone number of the person

or entity requesting exclusion, and in the case of entities, the name and telephone number of the




                                                 8
  Case: 1:20-cv-02581 Document #: 113 Filed: 07/06/22 Page 9 of 14 PageID #:1507




appropriate contact person; (ii) state that such person or entity “requests exclusion from the

Settlement Class in Macovski v. Groupon, Inc., No. 1:20-cv-02581”; (iii) state the number of

shares of Groupon common stock that the person or entity requesting exclusion

purchased/acquired and/or sold during the Settlement Class Period, as well as the dates and prices

of each such purchase/acquisition and sale; and (iv) be signed by the person or entity requesting

exclusion or an authorized representative. A request for exclusion shall not be effective unless it

provides all the required information and is received within the time stated above, or is otherwise

accepted by the Court.

       14.     Any person or entity who or that timely and validly requests exclusion in

compliance with the terms stated in this Order and is excluded from the Settlement Class shall not

be a Settlement Class Member, shall not be bound by the terms of the Settlement or any orders or

judgments in the Action, and shall not receive any payment out of the Net Settlement Fund.

       15.     Any Settlement Class Member who or that does not timely and validly request

exclusion from the Settlement Class in the manner stated in this Order: (a) shall be deemed to have

waived his, her, or its right to be excluded from the Settlement Class; (b) shall be forever barred

from requesting exclusion from the Settlement Class in this or any other proceeding; (c) shall be

bound by the provisions of the Stipulation and Settlement and all proceedings, determinations,

orders, and judgments in the Action, including, but not limited to, the Judgment or Alternate

Judgment, if applicable, and the Releases provided for therein, whether favorable or unfavorable

to the Settlement Class; and (d) will be barred from commencing, maintaining, or prosecuting any

of the Released Plaintiff’s Claims against any of the Defendants’ Releasees, as more fully

described in the Stipulation and Notice.




                                                9
  Case: 1:20-cv-02581 Document #: 113 Filed: 07/06/22 Page 10 of 14 PageID #:1508




        16.     Appearance and Objections at Settlement Hearing – Any Settlement Class

Member who does not request exclusion from the Settlement Class may enter an appearance in the

Action, at his, her, or its own expense, individually or through counsel of his, her, or its own choice,

by filing with the Clerk of Court and delivering a notice of appearance to both Lead Counsel and

Defendants’ Counsel, at the addresses set forth in paragraph 17 below, such that it is received no

later than twenty-one (21) calendar days prior to the Settlement Hearing, or as the Court may

otherwise direct. Any Settlement Class Member who does not enter an appearance will be

represented by Lead Counsel.

        17.     Any Settlement Class Member who does not request exclusion from the Settlement

Class may file a written objection to the proposed Settlement, the proposed Plan of Allocation,

and/or Lead Counsel’s motion for an award of attorneys’ fees and reimbursement of Litigation

Expenses and appear and show cause, if he, she, or it has any cause, why the proposed Settlement,

the proposed Plan of Allocation, and/or Lead Counsel’s motion for attorneys’ fees and

reimbursement of Litigation Expenses should not be approved; provided, however, that no

Settlement Class Member shall be heard or entitled to contest the approval of the terms and

conditions of the proposed Settlement, the proposed Plan of Allocation, and/or the motion for

attorneys’ fees and reimbursement of Litigation Expenses unless that person or entity has filed a

written objection with the Court and served copies of such objection on Lead Counsel and

Defendants’ Counsel at the addresses set forth below such that they are received no later than

twenty-one (21) calendar days prior to the Settlement Hearing.

                  Lead Counsel                                  Defendants’ Counsel

            Kirby McInerney LLP                        Skadden, Arps, Slate, Meagher & Flom LLP
            Thomas W. Elrod, Esq.                                Matthew R. Kipp, Esq.
          250 Park Avenue, Suite 820                             155 N. Wacker Drive
            New York, NY 10177                                   Chicago, IL 60606



                                                  10
 Case: 1:20-cv-02581 Document #: 113 Filed: 07/06/22 Page 11 of 14 PageID #:1509




                      -and-
        Glancy Prongay & Murray LLP
            Leanne H. Solish, Esq.
      1925 Century Park East, Suite 2100
           Los Angeles, CA 90067

               18.     Any objections, filings, and other submissions by the objecting Settlement

Class Member: (a) must state the name, address, and telephone number of the person or entity

objecting and must be signed by the objector; (b) must contain a statement of the Settlement Class

Member’s objection or objections, and the specific reasons for each objection, including any legal

and evidentiary support the Settlement Class Member wishes to bring to the Court’s attention; and

(c) must include documents sufficient to prove membership in the Settlement Class, including the

number of shares of Groupon common stock that the objecting Settlement Class Member

purchased/acquired and/or sold during the Settlement Class Period, as well as the dates and prices

of each such purchase/acquisition and sale. Objectors who enter an appearance and desire to

present evidence at the Settlement Hearing in support of their objection must include in their

written objection or notice of appearance the identity of any witnesses they may call to testify and

any exhibits they intend to introduce into evidence at the hearing.

       19.     Any Settlement Class Member who or that does not make his, her, or its objection

in the manner provided herein shall be deemed to have waived his, her, or its right to object to any

aspect of the proposed Settlement, the proposed Plan of Allocation, and Lead Counsel’s motion

for an award of attorneys’ fees and reimbursement of Litigation Expenses and shall be forever

barred and foreclosed from objecting to the fairness, reasonableness, or adequacy of the

Settlement, the Plan of Allocation, or the requested attorneys’ fees and Litigation Expenses, or

from otherwise being heard concerning the Settlement, the Plan of Allocation, or the requested

attorneys’ fees and Litigation Expenses in this or any other proceeding.



                                                11
 Case: 1:20-cv-02581 Document #: 113 Filed: 07/06/22 Page 12 of 14 PageID #:1510




         20.   Stay and Temporary Injunction – Until otherwise ordered by the Court, the Court

stays all proceedings in the Action other than proceedings necessary to carry out or enforce the

terms and conditions of the Stipulation. Pending final determination of whether the Settlement

should be approved, the Court bars and enjoins Lead Plaintiff, and all other members of the

Settlement Class, from commencing or prosecuting any and all of the Released Plaintiff’s Claims

against each and all of the Defendants’ Releasees.

         21.   Settlement Administration Fees and Expenses – All reasonable costs incurred in

identifying Settlement Class Members and notifying them of the Settlement as well as in

administering the Settlement shall be paid as set forth in the Stipulation without further order of

the Court.

         22.   Settlement Fund – The contents of the Settlement Fund held by The Huntington

National Bank (which the Court approves as the Escrow Agent), shall be deemed and considered

to be in custodia legis of the Court, and shall remain subject to the jurisdiction of the Court, until

such time as they shall be distributed pursuant to the Stipulation and/or further order(s) of the

Court.

         23.   Taxes – Lead Counsel is authorized and directed to prepare any tax returns and any

other tax reporting form for or in respect to the Settlement Fund, to pay from the Settlement Fund

any Taxes owed with respect to the Settlement Fund, and to otherwise perform all obligations with

respect to Taxes and any reporting or filings in respect thereof without further order of the Court

in a manner consistent with the provisions of the Stipulation.

         24.   Termination of Settlement – If the Settlement is terminated as provided in the

Stipulation, the Settlement is not approved, or the Effective Date of the Settlement otherwise fails

to occur, this Order shall be vacated, rendered null and void, and be of no further force and effect,




                                                 12
 Case: 1:20-cv-02581 Document #: 113 Filed: 07/06/22 Page 13 of 14 PageID #:1511




except as otherwise provided by the Stipulation, and this Order shall be without prejudice to the

rights of Lead Plaintiff, the other Settlement Class Members, and Defendants, and the Parties shall

revert to their respective positions in the Action as of May 6, 2022, as provided in the Stipulation.

       25.     Use of this Order – Neither this Order, the Stipulation (whether or not

consummated), including the exhibits thereto and the Plan of Allocation contained therein (or any

other plan of allocation that may be approved by the Court), the negotiations leading to the

execution of the Stipulation, nor any proceedings taken pursuant to or in connection with the

Stipulation and/or approval of the Settlement (including any arguments proffered in connection

therewith): (a) shall be offered against any of the Defendants’ Releasees as evidence of, or

construed as, or deemed to be evidence of any presumption, concession, or admission by any of

the Defendants’ Releasees with respect to the truth of any fact alleged by Lead Plaintiff or the

validity of any claim that was or could have been asserted or the deficiency of any defense that has

been or could have been asserted in this Action or in any other litigation, or of any liability,

negligence, fault, or other wrongdoing of any kind of any of the Defendants’ Releasees or in any

way referred to for any other reason as against any of the Defendants’ Releasees, in any civil,

criminal, or administrative action or proceeding, other than such proceedings as may be necessary

to effectuate the provisions of the Stipulation; (b) shall be offered against any of the Plaintiff’s

Releasees, as evidence of, or construed as, or deemed to be evidence of any presumption,

concession, or admission by any of the Plaintiff’s Releasees that any of their claims are without

merit, that any of the Defendants’ Releasees had meritorious defenses, or that damages recoverable

under the Complaint would not have exceeded the Settlement Amount or with respect to any

liability, negligence, fault, or wrongdoing of any kind, or in any way referred to for any other

reason as against any of the Plaintiff’s Releasees, in any civil, criminal, or administrative action or




                                                  13
 Case: 1:20-cv-02581 Document #: 113 Filed: 07/06/22 Page 14 of 14 PageID #:1512




proceeding, other than such proceedings as may be necessary to effectuate the provisions of the

Stipulation; or (c) shall be construed against any of the Releasees as an admission, concession, or

presumption that the consideration to be given under the Settlement represents the amount that

could be or would have been recovered after trial; provided, however, that if the Stipulation is

approved by the Court, the Parties and the Releasees and their respective counsel may refer to it

to effectuate the protections from liability granted thereunder or otherwise to enforce the terms of

the Settlement.

       26.     Supporting Papers – Lead Counsel shall file and serve the opening papers in

support of the proposed Settlement, the Plan of Allocation, and Lead Counsel’s motion for an

award of attorneys’ fees and reimbursement of Litigation Expenses no later than thirty-five (35)

calendar days prior to the Settlement Hearing; and reply papers, if any, shall be filed and served

no later than seven (7) calendar days prior to the Settlement Hearing.

       27.     The Court retains jurisdiction to consider all further applications arising out of or

connected with the proposed Settlement.

SO ORDERED this 6th day of July, 2022.



                                              ________________________________________
                                                   The Honorable Matthew F. Kennelly
                                                       United States District Judge




                                                14
